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                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



United States of America

-vs-                                            Case No. 2:12-cr-187 (3)

Aaron Josue Acuna-Duenas
________________________________

                         REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


       The Defendant, by consent, has appeared before me pursuant to Rule
11, F.R.Cr.P. and has entered a plea of guilty to Count one (1) of the
Indictment.    After examining the Defendant under oath concerning each of
the subjects mentioned in Rule 11, I determine that the defendant is
competent and capable of entering an informed plea, that the guilty plea
is knowingly and voluntary made and that the offenses charged are supported
by an independent basis in fact containing each of the essential elements
of such offense.
       I therefore RECOMMEND the plea agreement and the plea of guilty should
be accepted and the Defendant should be adjudged guilty and sentenced
accordingly.    Otherwise, the plea agreement should be rejected and the
defendant should be allowed to withdraw the guilty plea.
     The Defendant remains in the custody of the U.S. Marshal pending
sentencing.

Date: May 29, 2013                          /s/ Terence P. Kemp
                                           UNITED STATES MAGISTRATE JUDGE


                                    NOTICE

     Failure to file written objections to this Report and Recommendation
within fourteen (14) days from the date of its service shall bar an aggrieved
party from attacking such Report and Recommendation before the assigned
United States District Judge. 28 U.S.C. Section 636(b)(1)(B).
